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ATTORNEYS FOR UNITED STATES


           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MONTANA
                     BILLINGS DIVISION


DALE OSBORNE,                              Cause CV 14-126-BLG-SPW
as Personal Representative of the Estate
of Sarah Osborne,

           Plaintiff,                      STIPULATION FOR
vs.                                        DISMISSAL

BILLINGS CLINIC and UNITED
STATES OF AMERICA,

         Defendants.


      IT IS HEREBY STIPULATED AND AGREED by and between the

parties hereto, acting by and through their respective counsel of record,

that the claims of plaintiff, Dale Osborne, against defendant, United

States, may be dismissed with prejudice as fully compromised and

settled on the merits, each party to bear their own costs and expenses.
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DATED this 13th day of January, 2016.

                            MICHAEL W. COTTER
                            United States Attorney



                            /s/ TIMOTHY J. CAVAN
                            Assistant U.S. Attorney
                            Attorney for Defendant United States


DATED this 13th day of January, 2016.



                            /s/ ELIZABETH A. BEST
                            Best Law Offices, P.C.
                            Attorney for Plaintiff
